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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS DISTRICT CO

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FILED *AS

    
   

AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC §
MEDICINE, et al., §

Plaintiffs, :
V. : 2:22-CV-0223-Z
U.S. FOOD AND DRUG
ADMINISTRATION, et al., §

Defendants. :

ORDER

On February 3, 2023, the Court ordered parties to submit separate briefs on whether the Court
should consolidate the injunction hearing and the trial on the merits under Federal Rule of Civil
Procedure 65(a)(2). See ECF No. 32. Having considered the briefing and relevant law, the Court
determines that consolidation would not be appropriate in this case. See Univ. of Tex. v. Camenisch,
451 U.S. 390, 395 (1981) (explaining that “it is generally inappropriate for a federal court at the
preliminary-injunction stage to give a final judgment on the merits.”).

SO ORDERED.

February ge 2023

 

HEW J. KACSMARYK
ITED STATES DISTRICT JUDGE
